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                                                                           FILED
                                                                                 JUL 2 5      tuff
                       UNITED STATES DISTRICT COURT
                       NoRTHERN DrsrRrcr oF          rI,I,rNois           cLEJ[?,lHB8ff8TSr*,
                             EASTERN DIVISION

 UNITED STATES OF AMERICA

         v.                                          No. 18 CR 284
                                                     IUDGE CHANC
 CHRISTOPHER HENDERSON,                                                  ttAtoEz'
 JOHN L. PHILLIPS,                                 MicETRATE JUDGE
      also known as "JoJo" and "Durk," and          Violations: Title 18, United
 JAIQAIL WRIGHT,                                     States Code, Sections
      also known as "Jaigail Wright"                 922(a)(t)(A), 922(a)(3),
                                                     e22(go),   e2   a6)0)(D),   e2   4(n),
                                                     1512(cX1) and2


                                   COI.]I{T ONE

      The SPECIAL AUGUST 2017 GRAND JURY charges:

      From no later than in or about July 2}L6,and continuing until on or about May

10, 2018, in the Northern District of Illinois, Eastern Division, and elsewhere,

                          CHRISTOPHER HENDERSON,
                               JOHN L. PHILLIPS,
                          also known as "JoJo" and "Durk," and
                                JAIQAIL WRIGHT,
                             also known as "Jaigail Wright,"

defendants herein, not being licensed importers, manufacturers, or dealers,      willfully
engaged in the business of dealing in firearms;

      In violation of Title 18, United States Code, Sections 922(a)(l)(A) and 2.
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                                    COTJNT TWO

      The SPECIAL AUGUST 2017 GRAND JURY further charges:

      On or about February L, 20L7 , at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                  JOHN L. PHILLPS,
                             also known as "JoJo" and "Durk,"

defendant herein, did travel from Illinois to another State, nam€ly, Kentucky, with

the intent to engage in the unlicensed dealing of firearms in violation of Title 18,

United States Code, Section 922(a)(l)(A), and did aequire firearms in that other State

in furtherance of such purpose;

      In violation of fitle 18, United States Code, Sections 924(n) and2.




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                                     COUNIII THREE

       The SPECIAL AUGUST 2017 GRAND JURY further charges:

       On or about February L,      2OL7   , at Chicago,   in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                  JOHN L. PHILLPS,
                               also known as "JoJo" and "Durk,"

defendant herein, not being a licensed importer, manufacturer, dealer, or collector of

firearms, within the meaning of Chapter 44,Title            J.8,   United States Code, willfully

did transport into the State of Illinois, where he then resided, firearms, namely, a

Diamondback Arms         Inc. DB-L5, .223 caliber pistol, bearing serial                number

DB1818209; and aZastavaPAP M85 NP, .556 caHLer pistol, bearing serial number

M85-NP005128, said firearm having been purchased and obtained by the defendant

outside of the State of Illinois;

       In violation of Title 18, United States Code, Sections 922(a)(3) and
92a(aX1XD).




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                                   COI,]I{T FOTIR

      The SPECIAL AUGUST 2017 GRAND JURY further charges:

      On or about February L6,20L7, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                        CHRISTOPHER HENDERSON, and
                              JOHN L. PHILLPS,
                           also known as "JoJo" and "Durkr"

defendants herein, did travel from Illinois to another State, namely, Kentucky, with

the intent to engage in the unlicensed dealing of firearms in violation of Title   18,

United States Code, Section 922(a)(l)(A), and did acquire fireams in that other State

in furtherance of such purpose;

      In violation of fitle 18, United States Code, Sections 924(n) and,2.
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                                   COTJI{T FTVE

      The SPECIAL AUGUST 2017 GRAND ruRY turther charges:

      On or about March 16,2017, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                       CHRISTOPHER HENDERSON, and
                             JOHN L. PHILLIPS,
                          also known as "JoIo" and "Durkr"

defendants herein, did travel from Illinois to another State, namely, Kentucky, with

the intent to engage in the unlicensed dealing of firearms in violation of Title 18,

United States Code, Section 922(a)(1XA), and did acquire a fiream in that other

State in furtherance of such purpose;

      In violation of Title 18, United States Code, Sections 924(n) and,2.




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                                    COI.JI{T SD(

      The SPECIAL AUGUST 2017 GRAND JURY further charges:

      On or about May 6, 2OL7, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                        CHRISTOPHER HENDERSON, and
                              JOHN L. PHILLPS,
                           also known as "JoJo" and "Durkr"

defendants herein, did travel from Illinois to another State, namely, Kentucky, with

the intent to engage in the unlicensed dealing of fireanns in violation of Title 18,

United States Code, Section 922(a)(1XA), and did acquire firearms in that other State

in furtherance of such purpose;

      In violation of fitle 18, United States Code, Sections 924(n) and'2.




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                                   COI,]I{T SE\MN

      The SPECIAL AUGUST 2017 GRAND JURY turther charges:

      On or about May 21, 2017, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                        CHRISTOPHER HENDERSON, aqd
                              JOHN L. PHILLPS,
                           also known as "Jo.Io" and "Durkr"

defendants herein, did travel from Illinois to another State, namely, Kentucky, with

the intent to engage in the unlicensed dealing of firearms in violation of Title 18,

United States Code, Section 922(a)(1)(A), and did acquire fireanns in that other State

in furtherance of such purpose;

      In violation of Title 18, United States Code, Sections 924(n) and 2.




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                                   COUIYT EIGHT

      The SPECIAL AUGUST 2017 GRAND ruRY further charges:

      On or about July 6, 2OL7, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                        CHRISTOPHER HENDERSON, and
                              JOHN L. PHILLIPS,
                           also known as "JoJo" and "Durk,"

defendants herein, did travel from Illinois to another State, namely, Kentucky, with

the intent to engage in the unlicensed dealing of firearms in violation of Title   18,

United States Code, Section 922(a)(1)(A), and did acquire firearms in that other State

in furtherance of such purpose;

      In violation of Title 18, United States Code, Sections 924(n) and2.




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                                   COI,]I\TT   I\INE
      The SPECIAL AUGUST 2017 GRAND JURY turther charges:

      On or about August 24,2AL7, at Hillside, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                JOHN L. PHILLPS,
                             also known as "JoJo" and *Durk,"

defendant herein, having previously been eonvicted of a crime punishable by a tenn

of imprisonment exceeding one year, did knowingly possess in and affecting   interstate

commerce a firearm, namely, a Glock, model 26,9 millimeter caliber semi-automatic

pistol with an obliterated serial number; and a Glock, model 22, .40 caliber semi-

automatic pistol, bearing serial number EEZ363US, which fireann had traveled in

interstate and foreign commerce prior to defendant's possession of the fireann;

      In violation of Title 18, United States Code, Section 922(d(1).




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                                     COUI{T TEN

       The SPECIAL AUGUST 2017 GRAND JURY turther charges:

       On or about August 24,201-7, at Hillside, in the Norfhern District of Illinois,

Eastern Division, and elsewhere,

                                 JOHN L. PHILLIPS,
                              also known as "JoJo" and "Durkr"

defendant herein, not being a licensed importer, manufacturer, dealer, or collector of

firearms, within the meaning of Chapter 44,Title 18, United States Code, willfully

did transport into the State of Illinois, where he then resided, firearms, namely, a

Glock, model 26,9 millimeter caliber semi-automatic pistol with an obliterated serial

number; and a Glock, model 22, .40 caliber semi-automatic pistol, bearing serial

number EEZ363US, said firearm having been purchased and obtained by the

defendant outside of the State of Illinois;

      In violation of fitle 18, United States Code, Sections 922(a)(3) and
92a(aX1XD).




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                                   COI]I{T ELE\ZEN

      The SPECIAL AUGUST 2017 GRAND JURY further charges:

      On or about May 10, 2018, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                 JAIQAIL WRIGHT,
                              also known as "Jaigail Wright,"

defendant herein, having previously been convicted of a crime punishable by a term

of imprisonment exceeding one year, did knowingly possess in and affecting   interstate

commerce ammunition, namely, six rounds of Companhia Brasileira de Cartuchos,

.40 caliber ammunition, which ammunition had traveled in interstate and foreign

commerce prior to defendant's possession of the ammunition;

      In violation of Title 18, United States Code, Section 922(9(J).




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                                 cour{T TwEL\m
       The SPECIAL AUGUST 2017 GRAND JURY turther charges:

       On or about May 11, 2018, at Kankakee, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                JOHN L. PHILLIPS,
                             also known as "JoJo" and "Durk,"

defendant herein, did cormptly attempt to alter, destroy, mutilate, and conceal one

or more records, documents, and other objects, namely, records, documents, and

photographs maintained and stored    in the Facebook account "Jofo A'mf," assigned
account number 10000309 01L5844, with the intent to impair         its integrity   and

availability for use in an official proceeding, namely, United States u. Christopher

Henderson, et     al., Criminal Case Number 18 CR 284, and federal grand jury
investigation 17 GJ 1173, all in the United States District Court for the Northern

District of Illinois;

       In violation of Title 18, United States Code, Sections 15L2(cX1) and2.




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                            FORFEITI.IRE ALLEGATION

      The SPECIAL AUGUST 2017 GRAND JURY turther alleges:

       1.    Upon conviction of an offense inviolation of Title L8, United States Code,

Sections 922 and 924, as set forth in this Indictment, defendants shall forfeit to the

United States of America any firearm and ammunition:

             a.     involved in and used in any offense of conviction, as provided in

Title 18, United States Code, Section 924(dX1) and Title 28, United States        Code,

Section 2461(c); and

             b.     found in the possession and under the immediate control of the

defendants at the time of ar:rest, upon conviction of any offense for committing and

attempting to commit any felony involving the use of threats, force, and violence, and

perpetrated in whole or in part by the use of fireanns, as provided in 18 U.S.C. $ 3665.

      2.     The property to be forfeited includes, but is not limited to:

             a.     a Glock, model 19, 9 millimeter pistol, bearing serial number
ABXP891;

             b.     a Glock, model 23, .40 caliber pistol, bearing serial number
BBFY989;

             c.     a Glock, model 26, 9   millimeter caliber semi-automatic pistol with

an obliterated serial number, magazines, and associated ammunition;

             d.        a Glock, model 27, .40 caliber semi-automatic pistol, bearing
serial number AAFH542, and associated ammunition;




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            e.     a Glock, model 22, .40 caliber semi-automatic pistol, bearing
serial number EEZ363US; and

            f.     two Glock magazines and six rounds of Companhia Brasileira de

Cartuchos, .40 caliber ammunition.



                                            A TRUE BILL:



                                            FOREPERSON




UNITED STATES ATTORI{EY




                                       L4
